






Criminal Case Template






COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS



SERGIO CORCHADO,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-05-00118-CR

Appeal from the

243rd District Court

of El Paso County, Texas

(TC# 20000D00023)




O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This is an appeal from the revocation of probation.  After a contested hearing, the trial
court found that Appellant had violated the terms and conditions of his probation, revoked
the probation, and sentenced Appellant to two years in a State Jail facility, to run concurrent
with a collateral revocation.  We affirm the trial court’s order revoking probation.
I.  BACKGROUNDThe record in the instant case shows that on May 15, 2000, Appellant entered his plea
of guilty to the offense of burglary of a building.  He was sentenced to five years’ deferred
adjudication to run concurrent with another offense.  On April 26, 2002, Appellant entered
his plea of true to a motion to adjudicate guilt pursuant to a plea agreement, and received two
years in a State Jail, probated for five years with attendance at a Substance Abuse Felony
Punishment Facility as a condition of probation.  On February 18, 2005, a contested
revocation hearing was held on the State’s motion to revoke probation after which
Appellant’s probation was revoked.  The trial court sentenced Appellant to serve two years
in a State Jail facility, concurrent with a collateral case.
II.  DISCUSSION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s court-appointed counsel, although suggesting that a potential issue on
review would include an assertion that the State’s evidence was insufficient to sustain
revocation of Appellant’s probation, has nonetheless filed a brief in which she has concluded
that the appeal is wholly frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S.
924, 87 S.Ct. 2094, 18 L.Ed.2d 1377 (1967), by presenting a professional evaluation of the
record demonstrating why, in effect, there are no arguable grounds to be advanced.  See High
v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex.
Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v.
State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  A copy of counsel’s brief has been delivered
to Appellant, and Appellant has been advised of his right to file a pro se brief.  Appellant has
not filed a pro se brief or other response.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have carefully reviewed the record and counsel’s brief and agree that the appeal
is wholly frivolous and without merit.  Further, we find nothing in the record that might
arguably support the appeal.  A discussion of the matter discussed in counsel’s brief would
add nothing to the jurisprudence of the state.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The judgment is affirmed.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RICHARD BARAJAS, Chief Justice

May 18, 2006

Before Barajas, C.J., McClure, and Chew, JJ.

(Do Not Publish)


